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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : CRIMINAL COMPLAINT
V. : Honorable André M. Espinosa
U.S.M.J.

JOUVIER A. BOISSEAU, JR.
Mag. No. 22-11244

I, John Havens, being duly sworn, state the following is true and correct
to the best of my knowledge and belief.

SEE ATTACHMENT A

I further state that I am a Special Agent with the Federal Bureau of
Investigation and that this complaint is based on the following facts:

SEE ATTACHMENT B

Continued on the attached page and made a part hereof.

A Jn, A

John Havens, Special Agent
Federal Bureau of Investigation

Special Agent John Havens attested to this Complaint by telephone pursuant to
Federal Rule of Criminal Procedure 4.1(b)(2)(A) on August 24, 2022, in the
District of New Jersey

HONORABLE ANDRE M. ESPINOSA

UNITED STATES MAGISTRATE JUDGE Signature of Judici
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ATTACHMENT A

COUNT ONE

On or about August 15, 2022, in Bergen County, in the District of New
Jersey and elsewhere, the defendant,

JOUVIER A. BOISSEAU, JR.,

did knowingly and willfully obstruct, delay, and affect commerce, and attempt to
obstruct, delay, and affect commerce, and the movement of articles and
commodities in such commerce, through the commission of a robbery, and did
commit and threaten force, violence, and fear of injury to the person and property
of another, namely, an employee of Car Dealership-1 in Garfield, New Jersey, in
furtherance thereof.

In violation of Title 18, United States Code, Sections 1951(a) and 2.
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ATTACHMENT B

I, John Havens, am a Special Agent with the United States Federal Bureau
of Investigation. I am fully familiar with the facts set forth herein based on my
own investigation, my conversations with other law enforcement officers, and my
review of reports, documents, and photographs of the evidence. Where
statements of others are related herein, they are related in substance and part.
Because this Complaint is being submitted for a limited purpose, I have not set
forth each and every fact that I know concerning this investigation. Where I
assert that an event took place on a particular date, I am asserting that it took
place on or about the date alleged.

1. At all times relevant to this complaint, the Victim was the employee
of a used car dealership operating in and around Garfield, New Jersey (“Car
Dealership-1” or the “Business”) that purchases cars for resale. Many of the cars
sold by the Business were first purchased by the Business from out-of-state
sellers, to include sellers operating in New York, Pennsylvania, and Maryland.

a As captured on video surveillance, on or about August 15, 2022,
while inside the Business, two individuals robbed the Victim at gunpoint. Both
individuals had masks covering their faces. Subsequent investigation revealed
that one of the individuals was BOISSEAU.

3: Specifically, upon entering the Business, BOISSEAU and his co-
conspirator (“Co-Conspirator-1”) approached the Victim, who was seated behind
a desk. BOISSEAU brandished a black handgun and pointed it at the Victim’s
face, while Co-Conspirator-1 stood over the Victim on the side opposite
BOISSEAU.

4. BOISSEAU demanded the Victim’s personal belongings, including
the Victim’s watch (the “Watch”), cell phone (the “Cell Phone”), and wallet, and
threatened to kill the Victim, if the Victim did not comply. After taking the
Victim’s belongings, to include the Watch and the Cell Phone, BOUISSEAU rifled
through the Victim’s desk, stealing approximately $3,000, which constituted
proceeds collected by the Business from the sale of a car.

Bs While still pointing the handgun at the Victim, BOISSEAU
disconnected the telephone on the Victim’s desk before he and Co-Conspirator-
1 fled the Business.

6. Law enforcement responded to the Business and eventually located
the Cell Phone underneath a car, several blocks from the Business, and
processed the Cell Phone for fingerprints. The investigation later revealed that
approximately two of the fingerprints found on the Cell Phone matched
BOISSEAU’s.
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ws Later the same day, BOISSEAU entered a convenience store located
on or around Main Street in Paterson, New Jersey (the “Store”), wearing clothing
that appeared to match what BOISSEAU wore during the commission of the
aforementioned robbery.
